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(CiRCUlT/CHANCERY) CDURT.OF TENNESSEE
140 ADAMS AVENUE, MEMPH|S, TEN`NESSEEBS‘| 03
FOR THE THlRTlETH JUDlC|'AL DlSTRlCT AT M'EMPHIS

 

 

 

 

 

 

 

 

 

 

 

 

SUMMONS iN ClVlL ACT|ON
' .~-. l / f_ w (~_" Lawsuit
DO`Cket NO.C/j`“’(`.:') {"3'(5?} / irs ,¢)""x'/r:?c..,`_‘ C`_'_. vaorce Ad Daml"lum $ _l
FRANKlE JEAN COLLlNS, as-Biolo'gical Daughter SOUTH PARKWAY ASSOClATES, L.P..d/b/a
and on behalf'o the `Wrongful Death Beneficiaries of PARKWAY HEALTH 81 REHABlL|TAiiON CENTER
ELNORA PARRETT, Deceas'ed
VS
P|alntiff(s) Defendant(s)
' .TO: (Nam_e and Address of Defendant (One defendant per summons))_ _ v b Metho'd of $ervlce:
CT CORP`ORAT|ON, as Regi`stered Agent for 4 ("` 'Cemf'ed Ma" _
g SOUTH PARKWAY ASSOC|ATES, i. P d/b/a 'C' Shelby County Sheriff
PARKWAY HEALTH 81 REHABlLlTATiON CENTER 1 . ..
800 S Gay Street' Su{te 2021 (` Commissmner of insurance ($)
v (__`.»Secretary of State ($)

Knoxvilie, °l'=N 37929
(_`_OtherTN County Sheriff ($),

' €__?_"Private Process Server

, '(`,; Other
($) Attach Required Fees

 

 

 

 

 

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Courit and
sewing a copy of your answer to the Compiaint on PA_RKE 5 MoRR|S E_$Q Plalntiff`$

a“°'“e`>"‘”h°$e address 'S so FRAzlER_ AvENuE, some 300 cHArTANooGA TN 37405 '*e*€i?h°“e_ 4234449125
within THlRTY (30) DAYS after this summons has been served upon you, e. you a1 to o so, a
judgment by default may be taken against you for the relief demanded in,the Cornplaint.

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TO THE DEFENDANT:

 

 

                             

k rEsTEo AND' issuED

~» ' v NOTICE; Pursuant to Chapter9l 9 of the Public Acts of 1980, you are hereby given the following notice:
" ~ Tennessee law provides a four thousand dollar ($4 ,OOO) personal property exemption from execution or seizure to satisfy a judgment if a judgment

- ~ should be entered against you in this action and you wish to claim property as exempt you must file a written list, under oath, of the items you wish
» ~ to claim as exempt with the Clerl< of the Court The list may be filed at any time and may be changed by you thereafter as necessary; however, unless
. lt is filed before thejudgment becomes final, it will not be effective as to any execution or garnishment issued priorto_ the1f1iin'g' of the list. Certaln
. 1te'ms` are automatically exempt by law and do not need to be llsted. These include items of necessary wearing apparel (clothlng) foryourself and
‘ -"»,your family and trunks or other receptacles necessary to contain such apparel, family portralts, the family Blble and school books Should any of
' -."the'se items be seized,` you would have the right to recover them if you do not understand your exemption right or how to exercise it, you may wish

~to seek the counsel of a lawyer.
FOR` AMER|CANS WH"H DlSABiLlTiES ACT (ADA) A$S|STANCE _Q_____,NLY CALL (901) 379-7895

l, JlMMY MOORE/ DONNA RUSSELL, Clerk of the Court,
' 'Shelby County, Tenr'\essee, certify this to be a true and
accurate copy -as~ filed this

11N1MY MooRE, ciari</ DONNA eus'srztc clerk and Master

By: yD.C.

 

EXH|BIT

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FOR THE. 30"1‘1+1 JUDICI.AL bis"riu;c'r enemy commits A'r MEMPHIS

 

 

 

TE-NNESSEE ._\_:l m g §
FRANI<;IE ]EAN COLLINS,_ as jj SEP 2 0 201 2121
Biological Daughtcr and on behalf of the Wrongful l
` Dcath Beneflciaries of ELNORA PARRE'IT, Deceased §:(RCU‘T C`QURT GL§%K
Plzu`nt`tt`fs,
Vs. Docket l\'llo. C:/`:w 9/‘39{, j*/Q?-
]U:RY DEMANDED
- SOUTH PARKWAY ASSOCIATES, L.P`. d/b/a :D; y/ l \ g /

PARKWAY HEALTH & REHABILI'I.`ATION CEN_TER

Defendant.

 

COMPLAINT FOR WRONGFUL DEATH 1

 

P_lairltif~fs assert this claim for W‘rongfull)eath against the Defendant and W-ould 'state

as _fo]l'ows.
I. ARTI'ES

l. Plaintiff Frankie jean Collins is the biological daughter of Elnc>ra Parrett xvho
died unmarried y l

2. Elnora Pat;cett died on November 13, 2011.

3. D'et`endant South Parkway Associates, L.P. d/ b / a Perkway H_ealth and
Rehabi]itation Center is an active Georgia limited partnership Wi`th its principal place of

~ business located at 400 Bomb‘ey Lane, At`la'nta, GA 30026. Its registered agent for service of

process is CT Corp'oration System, 800 S. G-ay S_treet, Suit,2021, Knoxviile, TN 37929-9710.

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4. Upon information and belief, the abc)ve~named defendant xvas actively
involved in managing the defendant nursing horne and played a role either directly or
through the actions of health care providers in deviating from the standard of care.

5. The Defendant is Vicariously liable for the negligent actions of its employees
and/ or agents Who Were Wc)rking at Parkway Health and Rehabilitation Center While Elnora
Parrett Was a resident of the Parkway Nursing Home under the legal principles of vicarious
liability and respondent superior.

II._JURISDIQ_MII Q;N_§¢___VENU~B_

6. All events Which form the basis of this Con'iplaj'nt occurred in
Memphis-, Shelby County, Tennessee.

7. Venue is properly situated in Shelby County pursuant to Tenn. Code Ann.
20~4»101(a) and {b).

El. This Court has jurisdiction of this matter pursuant to Tenn. Code Ann. 16*
10-101.

III. DEMAND FOR|QRY

9. Plaintiffs demand a jury'pursuant to the Tennessee .Constitution and Rule 38 of
the Tennessee Rules of'CiVil Procednre.

IV. GENERAL ALLEGATIQN§.AND FACTS

10. .Elnora Parrett arrived at Parkway Nursing Ho’rne on September 22, 2011 to
receive rehabilitative therapy after suffering a stroke at home Where she lived. She Was at
Met'hodist Central Hosp'ital. from Septernber 17-22, 2011, There was no documented skin
breakdown of any type on entry into Parkway and there were no initial physician orders

pertaining to any treatment for any type of skin breakdown ,A physical therapy note

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generated September 23, 2011 documents that her “Skin lntegrity =“- l'ntact.” (Page 8~7/`112).
The Physical Therapy notes also reveal that the Defendant was aware that due to her recent
stroke, Ms. Parrett was at heightened risk for the development of pressure sores. (Page
88/112).

‘ 11. On admission to Parkway, there were no physician orders to treat any skin
breakdown because none existed

12. On September 29, 2011 skilled physical therapy notes indicate that “Patient is
progressing with current treatment interventions and PO .”

13. _ On October 6, 2011 at 4:20 am, charting reveals the presence of a “quarter
size open area to left side of sacruin and a nickel size right side of sacrurn.” A physician
wound treatment order was created.and signed by D_r. Hines on October 12, 2012.

14. On October 12, 2011 a Progress Note dictated by the treating physician, Dr.
Hines, failed to even mention the presence of any skin breakdown nor any change in Ms..
Parrett’s weight or eating habits.

15. On Thursday, October 20, 2011 PT The_rapy Progress No~tes indicate that
“Wound nurse request for patient not to be up in W/C any longer than 2/hrs. secondary to
sacral wound.”v

161 On Friday, Cctober 21, 2011, Physical Therapy again notes “Pati'ent
demonstrates good rehab potential as evidenced by high PLOF, participation in passive
activity and supportive sta'f .” (Page 107/112)

17. Dr. Hi'nes’ Progr'ess Note on October 26, 2012 notes that the sacral pressure
ulcer “wor‘sened: over the weekend [Sat., October 22--Sun, Oct 23, 201`1] to its current
process.” Dr. Hines’ note also indicates that for the last two days Ms. Parrett “has eaten

extremely poorly” and that “[t]he patient is completely disoriented today. She is stating

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straight ahead with a blank stare and is unable to interact with examiner at all. During prior
examinations the patient has been talkative.” Upon visiting and physically examining Ms.
`Parrett on Wednes'day, Oc`tober 26, 2011, Dr. I~Iines ordered that she be sent to the hospital

18. A 12;30 prn transfer note created by Parkway staff indicated that Ms. Parrett
had been running a. low grade temperature for the last two days and that she was lethargic
and not responding like she used to” and that she had bilateral wheezing in her lung fields

19. Dr. Hines’ `October 26, 2011 Progress Note fails to mention any presence of
a fever, bilateral wheezing, any signs of dehydration, or reduced blood pressure although
staff were not able to find a vein to get an IV started This note also relates that she had an
un~stageable sacral pressure ulcer although an October 26, 2011 Progress Note actually
created after Ms. Parrett was no longer even at the nursing home stated that the sacral
wound bed contained “s'table yellow slough” and that wound care powder and an enzymatic
debrider were “applied to cavity.” ’I'here is no mention in Dr. Hines’ Pr'ogre`ss' N-ote that he
was ever informed of her continuing low grade fever or that she was no longer responding
like she normally did. l

20. The chart produced by the Det`endant does not contain any medical records
that reveal any of Ms. Paixett’s Activities of Daily living, nor any l\/I:DS forms, nor any
wound care treatment notes, nor any input/ output charting.

21». On October 26, 2011 at 1:02 pin, Eln'ora Parrett left Parkway'Nursing Horne
and only a few minutes later,_ at or around 1113 prn, Elnora Parrett entered Me'thodist Central
Hospital where she was found to have an infected Stage 4 sacral decubitous ulcer. One
treating physician at Methodist notated that “Nursing staff have reported a very large
necrotic foul~srnelling sacral decubitous ulcer on their initial evaluation.” Th'ere was no

mention among staff at the hospital that the wound was unstageable or that it was merely a

Stage 3.

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22. Ms. Parrett’s lab Values on entry to Me'thodist Central also revealed a person
With an extreme systemic infection Who was malnourished and dehydrate'd. Ms. Patrett’s
White Blood Cell (WB_C) Was 36,00() (norrnal 4,000~10,000); BUN 74 (normal 7~26); Sodium
149 (Nori`nal 155;145); Creatin‘ine 1.3 (Norrnal 0;6-1.1); and an Albumin of 1.8 (Nor._rnal .°).'5~
5;0-.)

23. The last information provided to Methodist Central by staff at Parkway
Nursing Home on October .26, ZQll indicated that Elnora Parrett had diminished mental
status and a Stage 3 pressure sore. There Was' no mention on this transfer form of
dehydration, change in eating status, recent feve'r, or a Worsening sacral pressure sore that
had become infected This Tran'sfer Note also stated that her Blood Pressu're was 90/4`1
which is extremely lover and not compatible with.long term life.

V. CLAIM FOR VIOLATI'ONOF THE TENNESSEE HEALTH CA`RE
LIABILI'I'Y ACT, -f-/ k/ a THE TENNES'SEE MEDI'CAL MALPRACTICE ACT:

24. . The Defendant failed to timely notify the treating physician of a significant
change in Ms. Pairett’s condition and failed to properly notice the significant decline in the
condition of her sacral pressure ulcer; The facility also failed to properly turn and reposition
Ms. Parrett thereby causing the initial development of the bedsore and its subsequent
Worsening. These failures constitute deviations in the nursing standard of care for a nursing
horne located in Sh-elby Co"u`nty, Tennessee_. These nursing failures are the proximate cause
of the development and Worsening of the sacral pressure ulcer that ultimately led to Ms.
Parrett’s death. `S`tated'otherwise, but for the facility’s failure turn and reposition Ms. Parrett
every two hours, combined With their subsequent failure to timely notify the treating
physician and the family of a change in the sacral Woimd’s condition, Ms. Parrett Would not

have suffered the mental and physical pain and suffering that she did from the creation of

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the sacral pressure sore and she also Would not have died I’Ier death was due to the medical

negligence of the l)efendant.
v VI. COMPLIANCE WITH NOTICE OF INTENT AND
CERTI`FI`CATE OF GOOD FAITH R'EQUIREMENT UNDER
REVISED TENNESSE~E HEALTH CARE LIABILITY ACT

28. On both November 22, 2011 and ]anuary lO, 2012 PlaintifPS counsel sent a
formal Notice of Intent to Suit- the named Defendants in this case. Afi:idavits attached to
this Complaint confirm as such. The Notice of lntent Was sent via Certified Mail, Return
Receipt Reques`ted With a certificate of mailing to CT Corporation, as the Regi'stered Agent
for South Parkway Associates, L.P.

29. lt has been more than 60 days since the Notice of Intent.Was delivered to the
registered agents for the named defendant Exhibit 1 is a copy of the Notice of lntent to
Suit letter and proof of service and dated -Certificate of Mailing is attached

30'. Additionally, Plaintiffs' have sent the medical records produced by the
Defend'ant and also the records from Ms. Parrett’.s hospitalization at Methodist Central to a
double board certified internist Who is also the Medical Director for a nursing horne and
Wh'o is familiar With the standard of care for a nursing home facility located in Shelby
County, Tennessee. He has also been previously tendered and accepted as an expert familiar
With the standard of care for a nursing horne located in Shelby County, Tennessee and an

expert qualified jto render an opinion as to cause of death in a nursing home negligence
lawsuit filedin Shelby County., Tennessee that proceeded to verdict for the Plaintiff. _Pn'or to
filing this C_omplaint, Plaintifi’s counsel received a signed and dated letter on this e'xpert’s
letterhead stating that this Was a case With legal merit and that but for the failure of the

Defendant to meet the nursing standard of care for a nursing horne located in Shelby

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County,v Tennessee, Ms. Parrett Would not have obtained this Stage 4 sacral pressure ulcer
and Would not have lost her life. The letter certifies that this is a wrongful death case With
legal rnerit. Plaintiff’s counsel has never been found in violation of Tenn. Code Ann, 29-26~
122. A signed and completed Certiiicate of Good Faith that mirrors the information
contained in this paragraph is attached as Ethibit 2.
VII. PRAYER FOR RELIEF
WHEREFORE PREMISES CONSIDERED, the Plain'tiff respectfully prays for the
following
l. That proper process and service issue as provided by law_.',
2`. Plaintiffs receive a compensatory and punitive damage award to be determined
by a jury and
3. Award l?laintiff their discretionary costs in this cause and any other relief,
including attorney’-s fees,. that they are legally entitled to receive
R.e'spec-'tfully submitted,
\

x

l
Park_e S. Morris, Esq. #018145
At_torney for the Plain'tiff
Par'ke M.orris & Asso`ciates
50 Frazier Avenue, Suite 300
.Chattatlooga, Tl\l 3.7405
(423) 444-9125
E\vw.patkemorris.corn
parkemorris@gmail.com

QMNQ

's cause for costs.

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I hereby acknowledge myself as sure ,`

  
 

 

sake s. Morris

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Hedth & Kéhabilitation _C-enter.

    

 

   
 

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EXHIBlT 1

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I~n accordance with 'I"ennessce Code Annotated Section 29-26~121(a)(1) which is éet

forth below:

1)

2)

?).),

(a)

(l) Any person, or that pecson's authorized agent, asserting a
potential claim for medical malpractice shall',give written notice of the
potential claim to each health care provider who will be a named
defendant at least sixty (60) days before the filing of a complaint
based upon medical malpractice in any court of this state.

(2) The notice shall inclnd'e:

(A) The full name and date of birth of the patient Whos'e treatment
is at'i'ssue:

(B) The name and address of the claimant authorizing the notice '
and the relationship to the patient, if the notice is not sent by the
pain"ent;

(_C)»The name and address of the attorney=sencling the notice, if
applicable;

(D) A list of the name and'address ofall providers being sent a
notice; and

(E) A HIPAA compliant medical authorization permitting the
provider receiving the notice to obtain complete medical records
from each other provider being sent a notice.

,Full name and address of patient at issue: Elnora Parrett; D’OB: january 10, 1923;
SS# 409-'52‘9.58`2

Name and address of claimant authorizing notice and relationship to the patient:
Franki`e jean Collins, Biol_ogical Daughterof Elnora Patrejtt.
A'ddrc»ssf: '79-29 S. Wontwocth; Chic'ago, IL 60620`

Namc and address of attorney sending the notice: Parke S. Morris, Esq.,
3301 Wést End Avcnue, Suite 300, Nash`ville, TN 37203. Ce'll Di.rect:» (901) 233-
51'72

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4) list of name and address of all providers rcccivin'ga notice:
a) CT Corpomtion, as Registencd Agent for South Parkway Associa_tes, L.P. d/ b/ a
Par'l'cway Health & Rehabilitation Centet
800 S. Gay Street, Suite 2021
Knoxvm¢, TN 37929

b.) Administtator

Parkway Health 8c Rehabilitation Centen
200 S' Parlmmy W.

`Mcmphifs, Tcnnessee 38:109~1'645

c.) Lytm Field, as Registered Agcnt for Met`hodist_ Healthcarc-.Memphis Hospitals
1211 :Union Aven'ue

S'uitc 700

Memphis, TN 38104

d.) Admini'strator
Methodist Centrcl Hospiml
1265 Union Avenue
Memphis, Tcnncssee 38104

Pursuant to Section (A)(Z)(e), please find enclosed a HIPAA compliant medical
authorization pcnmitting each named party to obtain complete medical records from each
other provider receiving this Notice of latent to Sue

We believe that this letter complies with the letter and spirit ochnn. Codc An'n.
§29-`26~12’1. if you or your counsel believe it is deficient m any way, then please promptly let
us know and any defect will be promptly curcd. lf we do not promptly heat from you, then
we will assume that you and your legal counsel believe the letter complies with thc law m all

respects
Sincetely [ / €/¢/W~i‘?'l W 3
|% 06 ‘/%)
v L»
how . %m/l 3
Parkc S. Morris, Esq.
Enclosuz:es (HIPAA Release)

Cc: ll'_.iss. L.- Wy.att, Esq.
Colin j. Ca‘cnmhan, Esq.

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I’A'HBNTNAME: BI»NORA PARRE'IT SSN: 409'52‘-9582
DATE OFBIRTHi JANUARY!R,UZ$~

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FARKWAY HEALTHAND RBHAB!L‘|T-A.'I’ION CBNTBR, 200 S. Psrkvmy, M'cmphls,’IN 38109
SOUI'H PARK\VAY AS_SOCIATBS, L.!’.

METHODIST CBNTRA'-L HOS?ITAL, 1265 Un'ton Ave, Mompl\is, 'l`N 38!04

MBTHODIST HBALTHCARE- MBMPHIS HOSPITAIS, 1265 Uulon Avc, Momphis, TN 38104

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PARKWAY HBALTH _AND RBHABILITATION CBNTER, 200 S. P¢.ckwsy, Mompl\ls 'l‘N 38109
SOU'I'H PARKWAY ASSOCAITBS, L._P.

MB‘I.‘HODIST CBNTRAL HOSI*!TAL,1265 Unlon' Avc, Memp_his, 'IN 30104

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Case 2:12-Cv-O2953-.]P|\/|-tmp Document 1-1 Filed 11/01/12 Page 17 of 32 Page|D 23

Mr. Parke S. Morris
December 1, 2011

Piease contact me at 601-856-9822, if you wish to discuss this matter, at this timo.

Thank you for your attention to this matter.

Sinoerely,

Paul' D. Cta_r\etta
Litigation Manager

Case 2:12-Cv-O2953-.]P|\/|-tmp Document 1-1 Filed 11/01/12 Page 18 of 32 Page|D 24

shown-vw cEnTtFYrNG coMPLtANcE with TENN. conn ANN' 29 26~
121(2)(4)

1. I hereby certify, swear and affirm that the attached Not;i ce of Intent to Sue
letter W'os im 'ilf_ed via Certitied Mail, Retu;rrt Receipt: requested on Novem_her
223 2911 to the.pet~sons listed in the Notice of It_tjter_tt t`;o Sue letter The
stamped f'ti_he Certit;`tied M'ail Recetpt confirms that the letter was
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Parkwa Health and Rehabtlit:atton Got_t_t`ot‘ and also to CT Corjt')ora'tion Wh-ich

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Case 2:12-Cv-O2953-.]P|\/|-tmp Document 1-1 Filed 11/01/12 Page 20 of 32 Page|D 26

C'I` Corporation as Regi'stered A'gent for South Parkway
Adm'inistrat-or, Parkway Heal`th & Rehabil'itation Center

January 10, 2012
Pag,e 2 ~of 2

hear from you,.then we Will assume that your facility's position has not changed and
you will not be releasing the medical records pertaining to Ms. Elnora Par'rett.

Regards,

WMXWL;W w<_

Parke- S._ Morx'is, Esq.

Enclosures (2)

cc: Fran1<ie lean Collins-

Case 2:12-Cv-02953-.]PI\/|-tmp Document 1-1 Filed 11/01/12 Page 21 of 32 Page|D 27

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Case 2:12-Cv-O2953-.]P|\/|-tmp Document 1-1 Filed 11/01/12 Page 22 of 32 Page|D 28

In accordance with Teunessee Code Annot'ated Section 29-26-121(3)(1) which is éct

forth below:

1)

2)

,3)

(a)

(l) Any person, or that pcrson's authorized agent, asserting a
potential claim for medical malpractice shall give written notice of the
potential claim to each health care provider who Will be a named
defendant at least sixty (60) days before the filing of a complaint
based upon medical malpractice in any court of this smte.

(2) The notice shall include:

(A`) The full name and date of birth of the patient whose treatment
is at issues

(B) The name and address of the claimant authorizing the notice
and the relationship to the patient if the notice is not sent by the
patient;

(C) 'I'he name and address of the attorney sending the notice, if
applicable;

(D) A list of the name and address of all providers being sent a
notice; and

(E) A HIPAA complian_t medical.authoriza\ion permitting the
provider receiving the notice to obtain complete medical records
from each other provider being sent a notice

Full name and address of patient at issue: Elnora Parrett;' DOB: january 10, 1923;
SS# 409-$2»_9582

Name and address of claimant authorizing notice and relationship to the patient:
Franlde Jeo.n Collins-, Biological Daughtex of Elnora Parrett.
Address: 7929 'S. Wentworth; Chicago, IL 60620

Name: and address of attorney sending the notice: P-arlce S. Morrls, Esq.,
3391 West>E'nd Avemie, Suite 300, Nashville,'I'N 37203. Cell Direct: (901) 233~
»5172

Case 2:12-Cv-O2953-.]P|\/|-tmp Document 1-1 Filed 11/01/12 Page 23 of 32 Page|D 29

4) list of name and address of all providers receiving a nou'ce:
a,) CI` Corpotau`on, as Registexcd. Agent’ for `South Parloway Associatcs, LP. d/b/a
Parkway I--ica~l'th 8c Reh`abilitation Center
800 S. Gay Street, Suite 2021
Knoxvill_e, 'I'N 37929

b.) Administracor

Pa'rkway Health dc Rehabilitarion Center
200 'S Par,kway W.

Mcmphis, Ten'nessee 381`09’-1645

c.) Lynn Field, as `Registered Agcnt for Methodist 'Hcalthcare-Memphis Hospitals
1211 Uriio_n.Avenue

S`uite'- 700

Memphis, TN 38104

d.) Administrator
Methodist`C'enttal Hospital
1265 Un'i'on Avonue
Memphis_, Tennessee 38104

Pursuant.to Section (A)(Z}(e), please End enclosed a HIPAA compliant medical
authorization pomnitt`ing each named»ipar`ty to obtain complete medical records from each
other provider receiving this Noticc of latent to »Sue.

We believe that this letter complies with the.letter and spirit of Tenn. Co'de Ann.
§29-26¢121. If you or your counsel believe it is_ deficient in any way, then please promptly let
us know and any defect will be promptly cured. If we do not promptly hear.&om you‘, then
We will assume that you and your legal counsel believe the letter complies with the law in all

respects.
Sincercly, / 05/ €,</W»i‘$ :J;;') v
fagg %m// 3 b '
Parke S. Moi:ris, Esq.

Enclosures ('I+IIPAA, Release)‘

Cc: Lisa L. Wyatt, B`sq».
Colin j Carna.ha`n, Esq.

Case 2:12-Cv-O2953-.]P|\/|-tmp Document 1-1 Filed 11/01/12 Page 24 of 32 Page|D 30

 

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Case 2:12-cv-O2953-.]P|\/|-tmp Document 1-1 Filed 11/01/12 Page 30 of 32 Page|D 36

A.FF!DAvxT cERTiFYING coMPLI-AN:cE wl'rn
TENN. conn AN.N. 29-26~121(11)(4)

1. I hereby certify, swear and affirm that the attached Notice of Intent to S'ue
letterw_as again mailed via Certii`ied Mail, R'eturn Receipt requested, on
january 10, 2012 to the persons listed in the N'ot:ice of lnte'nt to Sue l.e'tter.
The stamped copy of the C'ertified M-ai'l Receipt confirms that the letter was
indeed mailed on ]anua'ry 10, 201-2 to both the Administrator for the
Parlcway Health and Rehabilitation Center and also to CT Corporation which
was serving as the R`egistered Agent for Parkway Health and Rehabilitation

Center.

2. Altho"ugh We believed that we had fully complied with the requirements of
the Te'nnessee Medical Malpr'actice Act, the ]an'uary 10, 2012 second N`OI
letter Was sent because we had not received the requested medical records

from Parkway Nur.s»ing Home.

3. All of'the docum.ents_sent in this second NO'I letter dated A'ugust' 8,v 2012 are
attached hereto.

FURTHER AFFIANT _SAITH NOT.

STATE O'F TENNESSEE
COUNTY O.F \~'\gm j\§g g s .

Sworn to and subscribed before me this la :`f)‘d, §§ y ~
<<§;» ..........
STATE 4/

 
    

 

My Commission Expi`res: ¢1,__ c 43

Case 2:12-cv-O2953-.]P|\/|-tmp Document 1-1 Filed 11/01/12 Page 31 of 32 Page|D 37

,

IN THE CIRCUI"I` COURT OF TENNESSEE
FOR THE 30TH J`UDICIAL DISTR`ICT ~SHELBY COUNTY AT MEMPH.IS, TENNESSEE

 

FRANKIE ]EAN COLLINS, as

Daughter and on behalf of the Wrongfu'l

Dea`th Beneftciaries of ELNORA PARRE'IT
Plajntiffs,

vs. `Dock'et No. §
]URY DEMANDED

SOUTH PARKWAY ASSOCIATES d/ b / a
PARKWAY HEALTH & REHABII.JTATION CENTE.R

Defendant

 

' `CERTIFI-CATE O.F GO`OD FAITH
Medi`cal Malpractice-Health. »Care liability Case
__ PLAINTIFF’s FORM
to oooordoooo Wirh T.C.A. § 29_26-122»,:111oroby owe the following

1. Plaintlff’s counsel has consulted With one (1) or more experts Who have
provided a signed Written statement confirming that upon informan'on and

belief they:

(_A) _Axe competent under § .29-26~115 to express opinion(s) in the
case; and

(B) Be_lieve, based on the information available from the medical
records concerning the care and treatment of the Plaindff for the
incident(s) at issue, that there is a good faith basis to maintain the

EXHIBIT 2

Case 2:12-cv-O2953-.]P|\/|-tmp Document 1-1 Filed 11/01/12 Page 32 of 32 Page|D 38

action consistent with the requirements of § 29»26~11.5.

/ ' § l%~l/~l‘s'

 

I have been found in violation of T,C.A. § 29~26-122 © prior t:imes.

